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 8
                                   IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                          CASE NO. 1:15-CR-00233 LJO
12
                                    Plaintiff,          STIPULATION AND ORDER BETWEEN THE
13                                                      UNITED STATES AND ALFONSO APU
                            v.
14
     JUAN ORTIZ RIVAS, ET AL,
15
                                    Defendants.
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                                                  STIPULATION
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            WHEREAS, the discovery in this case is voluminous and contains a large amount of personal
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     information including but not limited to insurance claims and claim files, Social Security numbers, dates
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     of birth, telephone numbers, residential addresses, and confidential business and accounting records
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     (“Protected Information”); and,
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            WHEREAS, the parties desire to avoid both the necessity of large scale redactions and the
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     unauthorized disclosure or dissemination of Protected Information to anyone not a party to the court
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     proceedings in this matter;
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      STIPULATION AND ORDER                              1

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 1          The parties agree that entry of a stipulated protective order is appropriate.

 2          THEREFORE, defendant ALFONSO APU by and through his counsel of record John Garland

 3 (“Defense Counsel”), and plaintiff, the United States of America, by and through its counsel of record,

 4 hereby agree and stipulate as follows:

 5          1.       This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of

 6 Criminal Procedure, and its general supervisory authority.

 7          2.       This Order pertains to all discovery provided to or made available to Defense Counsel as

 8 part of the discovery in this case (hereafter, collectively known as the “discovery”).

 9          3.       By signing this Stipulation and Protective Order, Defense Counsel agrees not to share or

10 provide any documents that contain Protected Information with anyone other than Defense Counsel and

11 designated defense investigators and support staff.

12          4.       The parties agree that Defense Counsel, defense investigators, and support staff shall only

13 provide the defendant with copies of documents subject to these agreements:

14                   a)      The defendant shall only be provided with copies of documents that do not

15          contain Protected Information or copies of documents from which Protected Information has

16          been redacted.

17                   b)      Defense Counsel may permit the defendant to view unredacted documents in the

18          presence of his attorney, defense investigators and support staff.

19                   c)      The parties agree that Defense Counsel, defense investigators, and support staff

20          shall not allow the defendant to copy or record Protected Information contained in the discovery.

21          5.       The discovery and information therein may be used only in connection with the litigation

22 of this case and for no other purpose. The discovery is now and will forever remain the property of the

23 United States Government. Defense Counsel will return the discovery to the Government or certify that

24 it has been destroyed at the conclusion of the case.

25          6.       Defense Counsel will store the discovery in a secure place and will use reasonable care to

26 ensure that it is not disclosed to third persons in violation of this agreement.

27          7.       Defense Counsel shall be responsible for advising the defendant, employees, other

28 members of the defense team, and defense witnesses of the contents of this Stipulation and Order.

      STIPULATION AND ORDER                               2

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 1          8.       In the event that the defendant substitutes counsel, undersigned Defense Counsel agrees

 2 to withhold discovery from new counsel unless and until substituted counsel agrees also to be bound by /

 3 this Order or the Court modifies this Order regarding such transfer of discovery.

 4          IT IS SO STIPULATED.

 5 Dated: September 23, 2015                                 BENJAMIN B. WAGNER
                                                             United States Attorney
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 7                                                           /s/ Patrick R. Delahunty
                                                             PATRICK R. DELAHUNTY
 8                                                           Assistant United States Attorney

 9 Dated: September 23, 2015

10                                                           /s/ John Garland
                                                             John Garland
11                                                           Counsel for Defendant

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16                                                   ORDER

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18 IT IS SO ORDERED.

19      Dated:      September 25, 2015                        /s/ Lawrence J. O’Neill
                                                       UNITED STATES DISTRICT JUDGE
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      STIPULATION AND ORDER                              3

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